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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


 Black Widow Termite & Pest Control
 Corp.,

          Plaintiff,                                   Civil Action No.:3:23-cv-01246


 vs.


 Black Widow Pest Specialist LLC,

          Defendant.

     PLAINTIFF’S LOCAL RULE 56(a)1 STATEMENT OF UNDISPUTED MATERIAL
     FACTS IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         Pursuant to Local Rule 56(a)1 of the Local Rules of Civil Procedure for the United States

District Court for the District of Connecticut, Plaintiff submits the following Statement of

Undisputed Facts in support of Plaintiff’s Motion for Summary Judgment on Liability.

I.       TRADEMARK INFRINGEMENT CLAIM – UNDISPUTED MATERIAL FACTS

A. Strength of Plaintiff’s Mark

1. Plaintiff owns U.S. Trademark Registration No. 4,582,084 for the mark

     BLACKWIDOWPEST for “termite and pest control” services in International Class 037

     (“the ‘084 Registration”). (Dkt. 1 ¶ 25; Dkt. 1-3; Dkt. 16 at 4; Exhibit E at 2-3).

2. Plaintiff owns U.S. Trademark Registration No. 4,624,108 for the mark BLACK WIDOW &

     Design for “termite and pest control” services in International Class 037 (“the ‘108

     Registration”) and color is not a claimed feature of the mark such that it protects all color

     variations of the registered mark. (Dkt. 1 ¶ 26; Dkt. 1-4; Ex. E at 4-5).




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3. The ‘108 Registration has achieved incontestable status with the United States Patent and

     Trademark Office under 15 USC §1065. Defendant admits the incontestability of the ‘108

     Registration. (Dkt. 1 ¶ 26; Dkt. 1-4; Dkt. 14 at 4 ¶ 26).

4. Plaintiff owns U.S. Trademark Registration No. 4,624,109 for the mark BLACK WIDOW

     TERMITE & PEST CONTROL CORP. - "SHE ALWAYS GETS HER PREY!" & Design

     for “termite and pest control” services in International Class 037 (“the ‘109 Registration”)

     and color is not a claimed feature of the mark such that it protects all color variations of the

     registered mark. (Dkt. 1 ¶ 27; Dkt. 1-5; Ex. E at 6-7).

5.   The ‘109 Registration has achieved incontestable status with the United States Patent and

     Trademark Office 15 USC §1065. Defendant admits the incontestability of the ‘109

     Registration. (Dkt. 1 ¶ 27; Dkt. 1-5; Dkt. 14 at 4 ¶ 27).

6. Plaintiff’s BLACK WIDOW word mark Application Serial No. 98/124,482 for “pest control

     for commercial buildings; pest control for residential homes; termite and pest control

     services, other than for agriculture, aquaculture, horticulture and forestry” in Class 037

     registered on the Principal Register on August 6, 2024 under U.S. Registration No. 7,466,919

     (“the ‘919 Registration”). (Dkt. 48-1 at 1; Dkt. 48-8, Dkt. 16 at 4; Ex. E at 8-9). Plaintiff’s

     ‘919 Registration is prima facie evidence of the validity of the registered mark and of the

     registration of the mark, of Plaintiff’s ownership of the mark, and of the Plaintiff’s exclusive

     right to use the registered mark in commerce on or in connection with the goods or services

     specified in the certificate and there are no conditions or limitations stated in the certificate of

     the ‘919 Registration. (Id. 15 USC §1057).

7.   The ‘919 Registration issued without a disclaimer and copies of the ‘084, ‘108, ‘109 and

     ‘919 registrations are at Exhibit E.




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8.   In response to Paragraphs 26 and 27 of the Complaint, Defendant did not deny or otherwise

     dispute the allegation that Plaintiff’s ‘108 and ‘109 Registrations have achieved incontestable

     status. (Dkt. 14 at 4 ¶¶ 26-27).

9. Defendant’s Answer states: “Admit that plaintiff appears to own the specified trademark

     registration, specifically for a stylized mark for a logo, and that a Sections 8 and 15 combined

     declaration appears to have been accepted and acknowledged by the United States Patent and

     Trademark Office, which document speaks for itself.” (Dkt. 14 at 4 ¶¶ 26-27). Which

     therefore acknowledges that the Plaintiff’s ‘108 and ‘109 Registrations are incontestable

     under 15 USC §1065.

10. In addition to Plaintiff’s BLACK WIDOW word mark, Plaintiff also uses variations of the

     BLACK WIDOW mark, including certain stylized versions shown on page 1 of Exhibit E.

     (See Exhibit A, Declaration of P. Geiger ¶ 6; see also Dkts. 1-3, 1-4 and 1-5).

11. Plaintiff has continuously used its registered BLACK WIDOW marks in interstate

     commerce, including in New York and New Jersey. Additionally, several of Plaintiff’s New

     York-based customers reside in Connecticut but own or manage buildings in New York City.

     (See Ex. A, Decl. of P. Geiger ¶ 9; Dkt. 1 ¶ 31; see also Exhibits T and T1).

12. Plaintiff owns the website www.blackwidowpestcontrol.com, which is accessible to potential

     customers nationwide – a fact Defendant conceded in the 26(f) report. (See Ex. A, Decl. of P.

     Geiger ¶ 10; see also Dkt. 16 at 4).

13. Plaintiff has provided pest control services to the Port Authority of New York and New

     Jersey. (See Ex. A, Decl. of P. Geiger ¶ 11; Ex. T).




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14. Plaintiff has serviced Port Authority-controlled assets and locations, including ferries

   operating in navigable waterways between New York and New Jersey. (See Ex. A, Decl. of

   P. Geiger ¶ 11).

15. The United States Patent and Trademark Office maintains a publicly accessible trademark

   register, searchable at https://tmsearch.uspto.gov/. A search of Class 037 marks containing

   the words “BLACK” and “WIDOW” in the word mark and referencing “pest” in the services

   description reveals that the only such registered marks are owned by Plaintiff. (See Exhibit

   B).

16. Termite, pest and wildlife control services are classified in International Class 037 under the

   Nice Classification System, as recognized by the United States Patent and Trademark Office.

   (See 37 C.F.R. § 2.85(b); TMEP § 1401.02(a), available at

   https://tmep.uspto.gov/RDMS/TMEP/current#/current/TMEP-1400d1e8.html).

17. Exhibit B is a true and correct copy of a United States Patent and Trademark Office

   trademark register search reflecting results as of May 6, 2025. The search included: (1) the

   term “BLACK WIDOW” in the word mark field with “pest” in the goods/services

   description and Class 037 selected; and (2) the term “BLACKWIDOW” with “pest” in the

   goods/services field.

18. None of the third-party marks identified in Exhibit B include both the words “BLACK” and

   “WIDOW” in the word mark field – i.e. the trademark that is being registered. (See Exhibit

   B).

19. Defendant does not own any trademark registration(s) for the terms “BLACK WIDOW” or

   “BLACKWIDOW”. (See Exhibit B).




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20. No third party owns any trademark registration for the terms “BLACK WIDOW” or

   “BLACKWIDOW” in connection with termite, pest or wildlife control services. (See Exhibit

   B).

21. Defendant has not taken any depositions or elicited testimony from Paul Geiger, Scott

   Charney, or any other witness with knowledge or potential knowledge of the prosecution of

   the marks at issue in this case.

22. Defendant has not identified any evidence that Plaintiff made statements to the United States

   Patent and Trademark Office that were knowingly false, made with the intent to deceive, or

   that were material to the USPTO’s decision to issue the registrations.

23. Plaintiff filed its word mark application for BLACK WIDOW on August 9, 2023. (Dkt. 48-8;

   Ex. E at 8).

24. On August 10, 2023, Plaintiff sent a cease-and-desist letter to Defendant asserting

   infringement of the BLACK WIDOW mark. (Exhibit C, previously marked as PX-13 at

   Blake Black Dep. Sept. 24, 2024).

25. Defendant has produced no evidence that, as of August 9, 2023, Plaintiff believed or had any

   reason to believe that Defendant possessed superior rights in the BLACK WIDOW mark.

26. Exhibit C demonstrates that Plaintiff considered Defendant’s use of the BLACK WIDOW

   mark to be unauthorized and infringing.

27. Blake Black testified that “the strength of Plaintiff’s mark” factor is neutral. (Exhibit J, Blake

   Black Dep. April 23, 2025 at 130:6-131:17). However, for at least the reasons set forth above

   in paragraphs 1 through 26, Polaroid factor (1) – the strength of Plaintiff’s mark – weighs in

   favor of Plaintiff. See Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 495 (2d

   Cir.1961).




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B. Similarity of the Marks

28. Defendant company, Black Widow Pest Specialists, LLC, was founded in June 2021 and

   operates under the BLACK WIDOW name for the provision of pest control services. (Dkt. 1

   at 6-7 ¶¶ 32-34; Dkt. 14 at 4 ¶¶ 32-34).

29. Defendant’s use of the BLACK WIDOW word mark is identical to Plaintiff’s use of the

   BLACK WIDOW mark (i.e. both parties use BLACK WIDOW). (Dkt. 33-1 at 6).

30. Defendant’s BLACK WIDOW logo (Exhibit D, previously marked as PX-16 at Blake Black

   Dep. Sept. 24, 2024) and Plaintiff’s BLACK WIDOW logo (Ex. E at 1; see also Dkt. 33-8 at

   8) are confusingly similar. (PJR Hr’g Tr. 4:16-4:20).

31. Plaintiff’s BLACK WIDOW logo and Defendant’s BLACK WIDOW logo share at least five

   similarities. (Exhibit F, Blake Black Dep. Sept. 24, 2024 at 204:14-204:17; see also Exhibit

   G, previously marked as PX-25 at Blake Black Dep. Sept. 24, 2024).

32. Plaintiff’s BLACK WIDOW logo and Defendant’s BLACK WIDOW logo both contain the

   words “BLACK WIDOW”. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 197:12-197:17).

33. Plaintiff’s BLACK WIDOW logo and Defendant’s BLACK WIDOW logo both contain a

   spider design. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 198:10-198:13).

34. Plaintiff’s BLACK WIDOW logo and Defendant’s BLACK WIDOW logo both contain the

   color red. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 198:15-198:18).

35. Plaintiff’s BLACK WIDOW logo and Defendant’s BLACK WIDOW logo both contain the

   color black. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 198:19-198:21).

36. Plaintiff’s BLACK WIDOW logo and Defendant’s BLACK WIDOW logo both contain the

   word “PEST”. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 204:6-204:13). Therefore the first




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   three words of Defendants mark are BLACK WIDOW PEST in that order and Plaintiff owns

   Reg. No. 4,582,08 for BLACKWIDOWPEST (Ex. E – the ‘084 Registration).

37. Bridgette Burr saw Defendant’s BLACK WIDOW logo when Defendant was at her mother’s

   house in the summer of 2023 to take care of bats. (Exhibit H, Burr Dep. at 10:20-11:14).

38. Bridgette Burr was present on both occasions when Defendant was at her mother’s house and

   saw Defendant’s BLACK WIDOW logo each time and Defendant’s representatives were at

   Ms. Burr’s house for several hours on at least the second visit. (Ex. H, Burr Dep. at 10:20-

   12:14).

39. As of the date of her deposition, after being shown Plaintiff’s BLACK WIDOW logo,

   Bridgette Burr testified that was the logo she saw at the time of service at her mother’s house

   in 2023; however, the logo she saw was actually Defendant’s. (Ex. H, Burr Dep. at 12:20-

   23).

40. As of the date of her deposition, after being shown Plaintiff’s BLACK WIDOW logo,

   Bridgette Burr was still unable to distinguish it from Defendant’s logo. (Ex. H, Burr Dep. at

   15:21-16:24) and Defendant has not elicited testimony from any other customer or potential

   customer in this matter.

41. For at least the reasons set forth above in paragraphs 28 through 40, Polaroid factor (2) –

   “the degree of similarity between the two marks” – weighs in favor of Plaintiff. See Polaroid

   Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961).

C. Proximity of the Services

42. Defendant has stipulated in the 26(f) report that the pest control services “offered by both

   Plaintiff and Defendant under the term BLACK WIDOW appear to be in many cases

   identical but at least substantially similar.” (Dkt. 16 at 5).




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43. Plaintiff’s registered BLACK WIDOW marks cover “termite and pest control” services in

   Class 37. (See Dkts. 1-3, 1-4 and 1-5; see also Ex. E at 2-9).

44. Defendant uses BLACK WIDOW for “termite and pest control services other than

   agriculture, aquaculture, horticulture, and forestry”. (Ex. F, Blake Black Dep. Sept. 24, 2024

   at 280:19-23).

45. Plaintiff’s registered BLACK WIDOW word mark covers, in part, “termite and pest control

   services, other than for agriculture, aquaculture, horticulture and forestry”. (Dkt. 48-8; Ex. E

   at 8-9).

46. Defendant uses BLACK WIDOW to promote its pest control business in commercial

   buildings. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 280:8-11).

47. Plaintiff’s registered BLACK WIDOW word mark covers, in part, “pest control for

   commercial buildings”. (Dkt. 48-8; Ex. E at 8-9).

48. Defendant uses BLACK WIDOW to promote its pest control business for residential homes.

   (Ex. F, Blake Black Dep. Sept. 24, 2024 at 280:15-18).

49. Plaintiff’s registered BLACK WIDOW word mark covers, in part, “pest control for

   residential homes”. (Dkt. 48-8; Ex. E at 8-9).

50. Accordingly, for at least the reasons set forth in paragraphs 42-49 above, Polaroid factor (3)

   – “the proximity of the [services]” – weighs in favor of Plaintiff. See Polaroid Corp. v.

   Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961).

D. “Bridging the Gap”

51. Plaintiff is licensed by the State of Connecticut to provide wildlife management services.

   (Ex. A, P. Geiger Decl. ¶ 12).




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52. There is a large population of individuals from Fairfield County Connecticut that commute to

   New York City and thus there is significant overlap between individuals consuming services

   in Connecticut who also are regularly in New York City. (See Exhibit V).

E. Evidence of Actual Confusion

53. Once Plaintiff began receiving misdirected calls, it implemented a procedure whereby the

   employee who received the call would take contemporaneous notes of the call and/or create

   an email summary. The resulting notes and emails are compiled in Exhibit I. (See Ex. A.,

   Decl. of P. Geiger at ¶ 13).

54. As of the filing of the Complaint on September 22, 2023, Plaintiff had documented nearly 20

   instances of phone calls from Defendant’s customers or potential customers or referral

   sources attempting to reach Defendant but who instead contacted Plaintiff (Dkt. 1 at 7 ¶ 37;

   Exhibit I at P000003-P000044; see also Ex. A, Decl. of P. Geiger ¶ 14 ) and the foregoing

   represents evidence of actual confusion.

55. Between November 2023 and May 2025, multiple customers and referral sources of

   Defendant contacted Plaintiff while mistakenly believing they were contacting Defendant or

   otherwise exhibited confusion between Plaintiff and Defendant. (Ex. I at P000001-P000002,

   P000045, P000048, P000057, P000058-62, P000065-68, P000888-893, P001227-1235).

56. On November 16, 2023, Bridgette Burr, the daughter of a customer of Defendant who was

   present when Defendant provided bat remediation services at here mother’s house, contacted

   Plaintiff seeking pest control services while mistakenly believing she was contacting

   Defendant (Ex. J, Blake Black Dep. April 23, 2025 at 25:21-22; Ex. I at P000001; Ex. A,

   Decl. of P. Geiger ¶ 15(a)).




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57. On December 7, 2023, David Cass, a customer of Defendant (or representative of a customer

   of Defendant), contacted Plaintiff while mistakenly believing he was contacting Defendant

   (Ex. F, Blake Black Dep. Sept. 24, 2024 at 131:11-13; Ex. I at P000002, P000045; Ex. A,

   Decl. of P. Geiger ¶ 15(b)).

58. On February 12, 2024, Charlene Jenkins, a customer of Defendant, contacted Plaintiff while

   mistakenly believing she was contacting Defendant (Ex. F, Blake Black Dep. Sept. 24, 2024

   at 148:1-15; Ex. I at P000048; Ex. A, Decl. of P. Geiger ¶ 15(c)).

59. On or around October 11, 2024, a pest control industry professional confused Plaintiff’s

   branding with that of Defendant (Ex. I at P000057; Ex. A, Decl. of P. Geiger ¶ 15(d)).

60. On October 21, 2024, two customers or potential customers contacted Plaintiff while

   mistakenly believing they were contacting Defendant. (Ex. I at P000065-66; Ex. A, Decl. of

   P. Geiger ¶ 15(e)-(f)).

61. On November 7, 2024, a customer or potential customer contacted Plaintiff while mistakenly

   believing they were contacting Defendant, indicating confusion between Plaintiff’s branding

   and that of Defendant, (Ex. I at P000888, P000891-893; Ex. A, Decl. of P. Geiger ¶ 15(g)).

62. On November 8, 2024, a customer or potential customer contacted Plaintiff while mistakenly

   believing they were contacting Defendant. (Ex. I at P000889-890; Ex. A, Decl. of P. Geiger ¶

   15(h)).

63. On February 12, 2025, a referral source of Defendant contacted Plaintiff while mistakenly

   believing they were contacting Defendant (Ex. I at P001227-P001228; Ex. A, Decl. of P.

   Geiger ¶ 15(i)).

64. On March 26, 2025, Herica Campos, a customer of Defendant, contacted Plaintiff while

   mistakenly believing she was contacting Defendant and asked for clarification regarding the




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   distinction between the two companies (Ex. J, Blake Black Dep. April 23, 2025 at 112:1-10;

   Ex. I at P001229-1230; Ex. A, Decl. of P. Geiger ¶ 15(j)).

65. On April 10, 2025, Nicole Brown from FAD Mechanical, a customer of Defendant,

   contacted Plaintiff regarding a quarterly service contract with Defendant, while mistakenly

   believing she was contacting Defendant. (Ex. J, Blake Black Dep. April 23, 2025 at 112:1-

   10; Ex. I at P001232; Ex. A, Decl. of P. Geiger ¶ 15(k)).

66. On April 11, 2025, Charles Engle, a customer of Defendant, contacted Plaintiff regarding a

   recent carpenter ant treatment provided by Defendant, while mistakenly believing he was

   contacting Defendant. (Ex. J, Blake Black Dep. April 23, 2025 at 112:1-10; Ex. I at P001232;

   Ex. A, Decl. of P. Geiger ¶ 15(l)).

67. On April 14, 2025, Michele Rau, a customer of Defendant, contacted Plaintiff to re-schedule

   a pest control service appointment she had with Defendant, while mistakenly believing she

   was contacting Defendant. (Ex. J, Blake Black Dep. April 23, 2025 at 112:1-10; Ex. I at

   P001234; Ex. A, Decl. of P. Geiger ¶ 15(m)).

68. On April 15, 2025, Laura Ledan, a customer of Defendant, contacted Plaintiff to schedule a

   follow-up service under the Gold Plan she has with Defendant. (Ex. J, Blake Black Dep.

   April 23, 2025 at 52:3-19; Ex. I at P001234; Ex. A, Decl. of P. Geiger ¶ 15(n)).

69. On April 22, 2025, David Cook from Letizia’s Pizza, a customer of Defendant, contacted

   Plaintiff while mistakenly believing he was contacting Defendant. (Ex. J, Blake Black Dep.

   April 23, 2025 at 51:6-52:2; Ex. I at P001234; Ex. A, Decl. of P. Geiger ¶ 15(o)).

70. On May 27, 2025, a customer or potential customer contacted Plaintiff while mistakenly

   believing they were contacting Defendant. (Ex. I at P001235; Ex. A, Decl. of P. Geiger ¶

   15(p)).




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71. During her deposition, Bridgette Burr testified that she was confused between Plaintiff and

   Defendant, and mistakenly contacted Plaintiff seeking services from Defendant (Ex. H, Burr

   Dep. at 16:17-24, 18:14-18).

72. Bridgett Burr testified that she previously saw Defendant’s branded trucks and t-shirts on two

   separate occasions, including during an all-day service call. (Ex. H, Burr Dep. at 11:1-12:9).

73. Despite having seen Defendant’s branded trucks and t-shirts on two separate occasions, Ms.

   Burr was unable initially to correctly identify Defendant’s logo during her deposition and

   rather could not identify which company logo was at her house until she was informed which

   one was Plaintiff and which one was Defendant. (Ex. H, Burr Dep. at 12:3-14, 12:20-23,

   17:14-18:6).

74. Defendant has received communications from customers who confused Defendant with

   Plaintiff. (Exhibit K at 1-2, previously marked as PX-23 at Blake Black Dep. Sept. 24, 2024).

75. Defendant has also received communications from pest control industry professionals who

   confused Defendant with Plaintiff. (Ex. K at ARM-BLACK-000123, previously marked as

   PX-24 at Blake Black Dep. Sept. 24, 2024).

76. For at least the reasons set forth above in paragraphs 53 through 75, Polaroid factor (5) –

   “evidence of actual confusion” – weighs in favor of Plaintiff. See Polaroid Corp. v. Polarad

   Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961).

F. Defendant’s Bad Faith

77. Blake Black testified that he adopted the BLACK WIDOW mark “in or around September 7,

   2021.” (Ex. F, Blake Black Dep. Sept. 24, 2024 at 282:15-18).




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78. Plaintiff’s 2003 and 2009 first use dates for the BLACK WIDOW marks in the ‘084, ‘108

   and ‘109 Registrations predate Defendant’s adoption of the BLACK WIDOW mark. (Dkts.

   1-3, 1-4 and 1-5; Ex. E at 2-7; Ex. F, Blake Black Dep. Sept. 24, 2024 at 282:15-18).

79. Plaintiff’s 2014 registration dates for the BLACK WIDOW marks in the ‘084, ‘108 and ‘109

   Registrations predate Defendant’s adoption of the BLACK WIDOW mark. (Dkts. 1-3, 1-4

   and 1-5; Ex. E at 2-7; Ex. F, Blake Black Dep. Sept. 24, 2024 at 282:15-18).

80. Between November 2023 and April 2025, Plaintiff produced at least fourteen documents to

   Defendant that referenced or contained evidence of potential or actual consumer confusion or

   at minimum mis-directed calls from individuals seeking pest or wildlife control services from

   Defendant but who contacted Plaintiff instead (Ex. I at P000001-P000002, P000045,

   P000048, P000057, P000065-66, P000888, P000891-893, P000889-890, P001227–

   P001234).

81. Despite receiving the documents evidencing potential or actual consumer confusion or

   misdirected calls in Exhibit I, Defendant did not take steps to change its name, logo or

   branding visible to consumers to remove use of BLACK WIDOW or Defendant’s logo which

   contains BLACK WIDOW and a spider design. (Ex. J, Blake Black Dep. April 23, 2025 at

   14:18-15:3, 29:1-23, 33:24-34:15, 34:20-35-8, 39:16-20, 41:12-45:16, 47:3-50:20, 63:11-21,

   65:10-66:3).

82. As of the date of this filing, Defendant’s branding remains unchanged in that all of

   Defendant’s shirts, marketing materials, trucks and website use BLACK WIDOW and/or

   Defendant’s logo containing BLACK WIDOW and a spider design. (See Exhibit L at 2-6,

   previously marked as PX-62 at Blake Black Dep. April 23, 2025).




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83. On December 1, 2023, Plaintiff produced to Defendant a document bates stamped P000001,

   which references actual consumer confusion (Exhibit M at 1); following that production,

   Defendant did not change its name or logo. (Ex. J, Blake Black Dep. April 23, 2025 at 14:18-

   15:3).

84. On December 7, 2023, Plaintiff produced to Defendant a document bates stamped P000045,

   which references actual consumer confusion (Ex. M at 4); following that production,

   Defendant did not change its name or logo. (Ex. J, Blake Black Dep. April 23, 2025 at 34:20-

   35:4).

85. On February 14, 2024, Plaintiff produced to Defendant a document bates stamped P000048,

   which references actual consumer confusion (Ex. M at 6); following that production,

   Defendant did not change its name or logo. (Ex. L).

86. On February 13, 2025, Plaintiff produced to Defendant a document bates stamped P001227-

   P001228, which references actual confusion (Ex. M at 14); following that production,

   Defendant did not change its name or logo. (Ex. J, Blake Black Dep. April 23, 2025 at 39:16-

   20).

87. On March 26, 2025, Plaintiff produced to Defendant a document bates stamped P001229-

   1230, which references actual consumer confusion (Ex. M at 15); following that production,

   Defendant did not change its name or logo. (Ex. J, Blake Black Dep. April 23, 2025 at 45:13-

   16).

88. On April 14, 2025, Plaintiff produced to Defendant a document bates stamped P001231-

   1232, referencing two instances of actual consumer confusion (Ex. M at 21); following that

   production, Defendant did not change its name or logo. (Ex. J, Blake Black Dep. April 23,

   2025 at 50:13-20).




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89. On April 23, 2025, Plaintiff produced to Defendant a document bates stamped P001233-

   1234, referencing three instances of actual consumer confusion (Ex. M at 28); following that

   production, Defendant did not change its name or logo. (Ex. J, Blake Black Dep. April 23,

   2025 at 50:13-54:18).

90. On May 27, 2025, Plaintiff produced to Defendant a document bates stamped P001235,

   referencing actual consumer confusion (Ex. M at 35); following that production Defendant

   did not change its name or logo. (Ex. L).

91. As detailed in paragraphs 77 through 90, Defendant was notified of and served evidence of

   misdirected consumer calls. (See Ex. M).

92. Defendant was aware of Plaintiff’s trademark registrations (see Ex. C).

93. Despite Defendant’s awareness of Plaintiff’s trademark registrations and despite being

   notified and served evidence of misdirected consumer calls, Defendant continued servicing

   customers under the BLACK WIDOW brand. (Ex. J, Blake Black Dep. April 23, 2025 at

   14:18-15:3, 29:1-23, 33:24-34:15, 34:20-35-8, 39:16-20, 41:12-45:16, 47:3-50:20, 63:11-21,

   65:10-66:3).

94. During his second deposition, Blake Black confirmed he was aware that the Court had

   indicated Plaintiff’s logo registrations, namely the ‘108 and ‘109 registrations (Dkts. 1-3, 1-4

   and 1-5; Ex. E at 4-7), are similar to Defendant’s logo (Ex. D; Ex. J, Blake Black Dep. April

   23, 2025 at 93:2-14, 95:3-97:1).

95. Despite having knowledge of the Court’s statements, Defendant had not removed BLACK

   WIDOW from its branding or logo as of the date of Blake Black’s deposition. (Ex. J, Blake

   Black Dep. April 23, 2025 at 96:15-22).




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96. After the registration date of Plaintiff’s Principal Register BLACK WIDOW word mark

   (Dkt. 48-8; Ex. E at 8-9), and with knowledge of that registration, Defendant removed the

   spider design from its website logo at the top left and began using the words BLACK

   WIDOW alone, while continuing to use the logo mark elsewhere. (Ex. J, Blake Black Dep.

   April 23, 2025 at 74:12-19; see also Ex. L, previously marked as PX-20 and PX-62 at Blake

   Black’s depositions).

97. When Defendant changed its website branding from the version shown in PX-20 to PX-62

   (Ex. L), Defendant’s use of BLACK WIDOW were identical to the rights and scope thereof

   protected by Plaintiff’s Principal Register word mark (Dkt. 48-8; Ex. E at 8-9), which

   protects the words BLACK WIDOW regardless of stylization or design.

98. At the time of this website change referenced in Paragraphs 96 and 97 above, Defendant

   was aware of Plaintiff’s registration, which had been submitted as an exhibit to Plaintiff’s

   Pre-Judgment Remedy motion and served on Defendant’s counsel on August 6, 2024. (Dkt.

   48-8; Ex. E at 8-9).

G. Consumer Sophistication

99. At least one customer who contacted Plaintiff by mistake testified that they found the pest

   control provider through a Google search. (Ex. H at 12:24-14:5).

100.   During her deposition, Ms. Burr testified that she mistakenly contacted Plaintiff after

   performing a Google search for “Black Widow Pest Control” and calling the first number

   that appeared. (Ex. H Burr Dep. at 12:24-14:5).

101.   Both Plaintiff and Defendant market their pest control services to the general public,

   including through their respective websites and other online platforms. (Ex. L; Ex. N).




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102.      For at least the reasons set forth in Paragraphs 99-101 above, Polaroid factor (8) –

      “sophistication of the [consumers]” – weighs in favor of Plaintiff. See Polaroid Corp. v.

      Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961).

II.       DEFENDANT’S COUNT I – DECLARATORY JUDGMENT OF INELIGIBILITY

          OF PLAINTIFF’S TRADEMARK

103.      Count I of Defendant’s Counterclaims seeks a declaratory judgment that Plaintiff’s U.S.

      Trademark Application Serial No. 98/124,482 for BLACK WIDOW should be refused

      registration. (Dkt. 14 at 17).

104.      U.S. Trademark Application Serial No. 98/124,482 registered as U.S. Trademark

      Registration No. 7,466,919 on August 6, 2024. (Dkt. 48-8; Ex. E at 8-9).

105.      Plaintiff filed Application Serial No. 98/124,482 with the United States Patent and

      Trademark Office on August 9, 2023. (Dkt. 48-8; Ex. E at 8).

106.      During the examination of Application Serial No. 98/124,482, the United States Patent

      and Trademark Office conducted a search of the trademark office database and the

      examiner’s record of search, including the search logic is found in the file history (Exhibit N

      at P001204). After such search, the examiner did not issue any refusals under Section 2(e)

      (mere descriptiveness) or Section 2(d) (likelihood of confusion). (Exhibit N at P001192-

      P001214).

107.      U.S. Trademark Application Serial No. 98/124,482 was published for opposition in the

      USPTO’s Official Gazette on May 21, 2024. (Ex. N at P001193).

108.      No oppositions were filed against U.S. Trademark Application Serial No. 98/124,482

      during the application’s 30-day publication period. (Ex. N at P001193).




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109.   On August 6, 2024, U.S. Trademark Application Serial No. 98/124,482 for BLACK

   WIDOW registered on the Principal Register as U.S. Trademark Registration No. 7,466,919.

   (Dkt. 48-8; Ex. E at 8-9).

110.   Registration of the BLACK WIDOW mark on the Principal Register reflects the

   USPTO’s determination, for purposes of registration, that the mark is distinctive and capable

   of identifying the source of Plaintiff’s services. (See TMEP § 1202).

111.   U.S. Trademark Registration No. 7,466,919 issued without a disclaimer of any portion of

   the mark. (Dkt. 48-8; Ex. E at 8-9).

112.   Blake Black testified that black widow spiders are “not prevalent in this part of the

   country, Connecticut or New York”. (Ex. J, Blake Black Dep. April 23, 2025 at 127:21-

   128:2, 128:11-129:4).

113.   On August 27, 2024, Defendant filed a Petition to Cancel U.S. Trademark Registration

   No. 7,466,919 with the Trademark Trial and Appeal Board under Cancellation No.

   92086092. The Petition did not include any supporting evidence or exhibits. (Exhibit O).

114.   During discovery, Plaintiff served interrogatories on Defendant, including Interrogatory

   No. 19, which requested that Defendant “describe in detail any trademarks used by third

   parties upon which Defendant will rely in connection with this proceeding.” (Exhibit P ¶ 19,

   previously marked as PX-34 at Blake Black Dep. Sept. 24, 2024).

115.   Defendant responded to Interrogatory No. 19 on February 28, 2025, and the response was

   verified by Blake-Joseph Black, the sole member of Defendant. (Ex. J, Blake Black Dep.

   April 23, 2025 at 116:11-20; see also Exhibit P at 10).

116.   Defendant did not supplement or amend the response to Interrogatory No. 19 prior to the

   close of fact discovery, before the filing of this Rule 56.1 Statement, or after the response




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   was presented to Mr. Black during his April 23, 2025 deposition. (Ex. J, Blake Black Dep.

   April 23, 2025 at 124:6-16).

117.   During his April 23, 2025 deposition, Mr. Black confirmed that Defendant’s response to

   Interrogatory 19 is complete and accurate with respect to third-party trademarks Defendant

   will rely on in this proceeding. (Ex. J, Blake Black Dep. April 23, 2025 at 124:6-16).

118.   In its response to Interrogatory No. 19, Defendant identified alleged common law marks

   of four companies: “Black Widow Pest Control, Inc.” in Utah, “Black Widow Pest Control

   Inc.” in Indiana, “Black Widow Exterminators, Inc.” in Colorado and “Black Widow Pest

   Management LLC” in Connecticut. (Ex. P at 11).

119.   Blake Black testified that Black Widow Pest Management LLC in Connecticut is out of

   business. (Ex. J, Blake Black Dep. April 23, 2025 at 117:15-19).

120.   Mr. Black testified that he does not know when Black Widow Pest Control, Inc. in Utah

   was formed. (Ex. J, Blake Black Dep. April 23, 2025 at 117:22-24).

121.   Mr. Black testified that he has no knowledge of whether Black Widow Pest Control, Inc.

   in Utah has continuously used the mark “Black Widow” for pest control services for any

   period of time. (Ex. J, Blake Black Dep. April 23, 2025 at 117:25-118:6).

122.   Mr. Black testified that he does not know when Black Widow Pest Control Inc. in

   Indiana was formed or first came into business. (Ex. J, Blake Black Dep. April 23, 2025 at

   118:7-118:10).

123.   Mr. Black testified that he has no knowledge of whether Black Widow Pest Control Inc.

   in Indiana has continuously used the mark “Black Widow” for pest control services since the

   date they first came into business. (Ex. J, Blake Black Dep. April 23, 2025 at 118:11-

   118:15).




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124.   Mr. Black testified he does not know when Black Widow Exterminators, Inc. in Colorado

   was formed. (Ex. J, Blake Black Dep. April 23, 2025 at 118:16-118:19).

125.   Mr. Black testified that he has no knowledge of whether Black Widow Exterminators,

   Inc. in Colorado has continuously used the mark “Black Widow” for pest control services for

   any period of time. (Ex. J, Blake Black Dep. April 23, 2025 at 118:20-119:6).

126.   Mr. Black testified that he has no knowledge of whether Black Widow Pest Control, Inc.

   in Utah was in business or providing pest control services between April 16, 2013 and June

   5, 2014. (Ex. J, Blake Black Dep. April 23, 2025 at 119:13-120:8).

127.   Mr. Black testified that he has no knowledge of whether Black Widow Pest Control, Inc.

   in Utah offered pest control services in any year since June 5, 2014. (Ex. J, Blake Black Dep.

   April 23, 2025 at 120:9-120:12).

128.   Mr. Black testified that he has no knowledge of whether Black Widow Exterminators,

   Inc. in Colorado offered pest control services in any year from 2002 to the present. (Ex. J,

   Blake Black Dep. April 23, 2025 at 120:13-121:2).

129.   Mr. Black testified that he has no knowledge of whether Black Widow Exterminators,

   Inc. in Colorado is currently operating or providing pest control services. (Ex. J, Blake Black

   Dep. April 23, 2025 at 121:3-121:6).

130.   Mr. Black testified that he has no knowledge of whether Black Widow Exterminators,

   Inc. in Colorado starting using “Black Widow” before Plaintiff. (Ex. J, Blake Black Dep.

   April 23, 2025 at 121:7-121:19).

131.   Defendant has not subpoenaed any documents from third parties and has not conducted

   any depositions in this case. (Exhibit Q, J. Winter Decl. ¶ 5).




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132.   Defendant has not authenticated any documents from “Black Widow Pest Control, Inc.”

   in Utah, “Black Widow Pest Control Inc.” in Indiana, or “Black Widow Exterminators, Inc.”

   in Colorado, nor has Defendant submitted any testimony from representatives of these

   entities. (Ex. Q, J. Winter Decl. ¶ 6).

133.   Defendant has not submitted any evidence showing that “Black Widow Pest Control,

   Inc.” in Utah, “Black Widow Pest Control Inc.” in Indiana, or “Black Widow Exterminators,

   Inc.” in Colorado used the marks “BLACK WIDOW” or “BLACKWIDOW” in connection

   with termite, pest or wildlife control services prior to Plaintiff’s first use, or that any such use

   has continued through the date of this Rule 56.1 Statement. (Ex. Q, J. Winter Decl. ¶ 7).

134.   In response to Interrogatory No. 18, which asked Defendant to identify persons whom

   Defendant expects to call as witnesses in this proceeding, Defendant did not identify any

   witnesses associated with “Black Widow Pest Control, Inc.” in Utah, “Black Widow Pest

   Control Inc.” in Indiana, or “Black Widow Exterminators, Inc.” in Colorado (Ex. P at 10).

135.   During his deposition, Blake Black confirmed that none of the witnesses identified in

   Defendant’s response to Interrogatory No. 18 are associated with “Black Widow Pest

   Control, Inc.” in Utah, “Black Widow Pest Control Inc.” in Indiana, or “Black Widow

   Exterminators, Inc.” in Colorado. (Ex. J, Blake Black Dep. April 23, 2025 at 123:19-124:16).

136.   Defendant’s initial disclosures do not identify any witnesses affiliated with “Black

   Widow Pest Control, Inc.” in Utah, “Black Widow Pest Control Inc.” in Indiana, or “Black

   Widow Exterminators, Inc.” in Colorado. (Exhibit R at 1-3).

137.   Blake Black testified that he is not aware of any evidence that Plaintiff had knowledge of

   “Black Widow Pest Control, Inc.” in Utah, “Black Widow Pest Control Inc.” in Indiana,

   “Black Widow Exterminators, Inc.” in Colorado, or “Black Widow Pest Management LLC”




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       in Connecticut prior to the filing of this lawsuit. (Ex. J, Blake Black Dep. April 23, 2025 at

       116:25-123:9).

138.      Blake Black testified that Defendant has not treated black widow spiders in the course of

       providing pest control services to its customers. (Ex. F, Blake Black Dep. Sept. 24, 2024 at

       67:5-18; see also Ex. J, Blake Black Dep. April 23, 2025 at 127:21-129:4).

139.      When asked “how many jobs in the last month [Defendant company] has…done with

       black widow spiders,” Blake Black responded: “none that I can think of because they are not

       [on] this side of the country.” Mr. Black also confirmed that black widow spiders are not

       common pests in Connecticut, that he has not dealt with a black widow spider pest control

       job in Connecticut, and that Defendant has zero revenue related to the control of black widow

       spiders. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 66:9-67:18; see also Ex. J, Blake Black

       Dep. April 23, 2025 at 127:21-128:23; see also Exhibit S, Michael Camilini Dep. Sept. 26,

       2024 at 73:5-21).

140.      The Trademark Trial and Appeal Board proceedings in Cancellation No. 92086092 have

       been stayed pending the outcome of this litigation. (Dkt. 69-1).

III.      DEFENDANT’S COUNT II – COMMON LAW TRADEMARK INFRINGEMENT

141.      Defendant alleges that Plaintiff’s use of the Plaintiff’s Mark constitutes trademark

       infringement under Connecticut common law. (Dkt. 14 at 19 ¶ 31).

142.      Plaintiff’s U.S. Trademark Registration Nos. 4,624,108 and 4,624,109 include the words

       BLACK WIDOW as part of the registered logo. (Ex. E at 4-7; Dkt. 1-4; Dkt. 1-5; see also

       Dkt. 1 at 3 ¶ 11).




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143.   Plaintiff has used its BLACK WIDOW marks in connection with pest control services

   since at least September 2003, and such use has been continuous. (Ex. A, P. Geiger Decl. ¶ 7;

   see also Dkt. 1 at 6 ¶ 30).

144.   Plaintiff is the owner of several U.S. Trademark Registrations for its BLACK WIDOW

   marks in connection with pest control services, namely, U.S. Registration Nos. 7,466,919,

   4,582,084, 4,624,108, and 4,624,109 (Ex. E; see also Dkt. 48-8; Dkts. 1-3, 1-4 and Dkt. 1-5).

145.   Plaintiff’s registrations on the Principal Register constitute prima facie evidence of the

   validity of the BLACK WIDOW mark, Plaintiff’s ownership thereof, and Plaintiff’s

   exclusive right to use the BLACK WIDOW mark in commerce in connection with pest

   control services. (Ex. E; Dkt. 48-8; Dkts. 1-3, 1-4 and 1-5; see also 15 U.S.C. § 1057(b)).

146.   Defendant does not own, and has never owned, a state or federal trademark registration

   for the mark BLACK WIDOW. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 53:7-8).

147.   Plaintiff has promoted and offered its BLACK WIDOW pest control services in interstate

   commerce, including in New York and New Jersey. Additionally, several of Plaintiff’s New

   York-based customers reside in Connecticut and own or manage properties in New York

   City. (Ex. A, P. Geiger Decl. ¶ 9; Exhibits T and T1; see also Dkt. 1 at 3 ¶ 11, Dkt. 1 at 4-5

   ¶¶ 19-22).

148.   Since at least 2003, Plaintiff has invested in advertising, marketing, and promotional

   materials using the BLACK WIDOW mark. (Ex. A, P. Geiger Decl. ¶ 8).

149.   Defendant’s first use of the BLACK WIDOW mark in commerce occurred no earlier than

   2021. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 282:17-18; Dkt. 1 at 6-7 ¶¶ 32-34; Dkt. 14

   at 4 ¶¶ 32-34). This first use date by Defendant is after the registration of Plaintiff’s U.S.




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   Trademark Registration Nos. 4,624,108 and 4,624,109 and also after the date those marks

   became incontestable.

150.   At the time Plaintiff selected and began using its BLACK WIDOW mark, Defendant was

   not in existence, Defendant’s alleged BLACK WIDOW mark had not been used in

   commerce, and Plaintiff was unaware of any third-party use of a similar mark. (Ex. F, Blake

   Black Dep. Sept. 24, 2024 at 282:17-18; Dkt. 1 at 6-7 ¶¶ 32-34; Dkt. 14 at 4 ¶¶ 32-34; Ex. A,

   P. Geiger Decl. ¶ 17).

151.   Plaintiff has priority of use of the BLACK WIDOW mark over Defendant. (PJR Hr’g Tr.

   12:8-12, 15:2-5; Dkts. 1-3, 1-4 and 1-5; Dkt. 48-8).

152.   Blake Black admitted that his company does not own any trademark rights to the term

   “BLACK WIDOW”. (Ex. J, Blake Black Dep. April 23, 2025 at 126:19-25).

153.   Plaintiff’s federally registered BLACK WIDOW marks have been declared incontestable

   under 15 U.S.C. § 1065 following continuous use for five consecutive years and proper

   filings with the United States Patent and Trademark Office. (Ex. E at 4-9; Dkt. 48-8; Dkt. 1-

   4; Dkt. 1-5; Dkt. 14 at 4 ¶¶ 26-27; see also 15 U.S.C. § 1065).

154.   The word “deny” does not appear in Defendant’s response to Paragraphs 26 and 27 of the

   complaint and thus Plaintiff owns U.S. Trademark Registration Nos. 4,624,108 and

   4,624,109 for the BLACK WIDOW marks and that both registrations have been deemed

   incontestable by the United States Patent and Trademark Office. (Dkt. 14 at 4 ¶¶ 26–27; Dkt.

   1 ¶¶ 26–27).

155.   Under Rule 8(b)(6) of the Federal Rules of Civil Procedure, Defendant’s failure to deny

   the allegations in Paragraphs 26 and 27 of the Complaint constitutes an admission that




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      Plaintiff owns U.S. Trademark Registration Nos. 4,624,108 and 4,624,109 and that both

      marks are incontestable. (Fed. R. Civ. P. 8(b)(6)).

156.      Defendant has not served a damages report in this action, despite the Court’s Scheduling

      Order setting a deadline for such report, and that deadline has passed. (Dkt. 46).

IV.       DEFENDANT’S SECOND AFFIRMATIVE DEFENSE

157.      Defendant alleges that Plaintiff “knowingly and falsely presented the ‘084 trademark

      with all of the rights of a mark registered on the primary register” (Dkt. 14 at 9). However, in

      the parties’ letter correspondence, Plaintiff did not state that the ‘084 trademark was

      registered on the primary (i.e., Principal) Register. (Ex. C). Defendant’s own response letter

      identified the ‘084 trademark as registered on the Supplemental Register. (Exhibit U,

      previously marked as PX-14 at Blake Black Dep. Sept. 24, 2024). Additionally, Plaintiff’s

      Complaint accurately references the ‘084 trademark by registration number, attaches a copy

      of the registration, and does not state that it is registered on the primary (i.e., Principal)

      Register. (Dkt. 1 at ¶25; Dkt. 1-3).

V.        DEFENDANT’S NINTH AFFIRMATIVE DEFENSE

158.      Plaintiff is licensed by the State of Connecticut to provide wildlife management services.

      (Ex. A, Aff of P. Geiger ¶ 12; Exhibit W at P000443).

VI.       DEFENDANT’S TENTH AFFIRMATIVE DEFENSE

159.      Defendant confirmed under oath that its company has received calls from customers who

      were intending to reach Plaintiff. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 291:14-17).

160.      Defendant received a call from a prospective customer who was attempting to reach

      Plaintiff. (Exhibit K at 1-2, previously marked as PX-23 at Blake Black Dep. Sept. 24, 2024).

      Blake Black admitted that the caller could only have been someone intending to contact




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   Plaintiff who mistakenly reached Defendant (Ex. J, Blake Black Dep. April 23, 2025 at

   30:11-34:8).

161.   Defendant received a text message from a pest control industry professional containing a

   photograph of Plaintiff’s logo displayed on pest control glue board and/or snap trap found at

   a job site. The individual inquired whether the materials were associated with Defendant’s

   work, when in fact they belonged to Plaintiff. (Exhibit K at ARM-BLACK-000123,

   previously marked as PX-24 at Blake Black Dep. Sept. 24, 2024).

162.   Defendant confirmed under oath that the logo depicted in the photograph received via

   text message from Jim Horton (Ex. K at ARM-BLACK-000123, previously marked as PX-24

   at Blake Black Dep. Sept. 24, 2024) was Plaintiff’s logo. (Ex. F, Blake Black Dep. Sept. 24,

   2024 at 188:16-19).

163.   Defendant admitted that he conducted no investigation into the origin of the glue

   board/snap trap bearing Plaintiff’s logo. (Ex. F, Blake Black Dep. Sept. 24, 2024 at 188:20-

   189:1).

VII.   DEFENDANT’S TWELFTH AFFIRMATIVE DEFENSE

164.   Defendant’s principal does not have the surname “BLACK WIDOW” or

   “BLACKWIDOW”. (Ex. F, Blake Black Dep. Sept. 24, 2025 at 50:14-21, 283:10-18).

   Defendant uses the term “BLACK” in its “BLACK WIDOW” branding as part of a

   trademark, not as a surname or to describe any specific pest control services offered by

   Defendant. (Ex. F, Blake Black Dep. Sept. 24, 2025 at 284:4-6; 66:9-67:18; see also Ex. J,

   Blake Black Dep. April 23, 2025 at 127:21-128:23).




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Dated: June 18, 2025
                                      FARBER, LLC

                                      By /s/ Jonathan A. Winter
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                                      Counsel for Black Widow Termite & Pest Control Corp.




                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing is being served via ECF.


06/18/2025                                           /s/Jonathan A. Winter

Date                                                 Jonathan A. Winter




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